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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

LATONYA PYATT,                                        )
                                                      )
       Plaintiff,                                     )
                                                      )
       v.                                             )       Civil Action No. PWG-18-03635
                                                      )
SANTANDER CONSUMER USA INC., et al.,                  )
                                                      )
       Defendants.                                    )

                            DISMISSAL WITH PREJUDICE
                        PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, whereas

Defendant, Aaron’s Inc. has not yet filed an Answer to the Second Amended Complaint, the

Plaintiff, LaTonya Pyatt, hereby designates this matter as settled and enters this notice of voluntary

dismissal with prejudice as to Aaron’s Inc. only.



                                               Respectfully submitted,


                                               _________/s/______________________
                                               Kevin C. Williams, Esq. Bar No. 18072
                                               8025 13th St., Ste 107
                                               Silver Spring, MD 20910
                                               301.399.1700
                                               kevin@kwesquire.com

                                               Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of April, 2019, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to all counsel of record.




                                                       By:    /s/ Kevin Williams
                                                       Kevin Williams #18072
                                                       Law Office of Kevin Williams, LLC
                                                       8025 13th Street, Suite 107
                                                       Silver Spring, MD 20910
                                                       Tel: (301) 399-1700
                                                       kevin@kwesquire.com
                                                       Counsel for Plaintiff
